                   Case 24-20138                    Doc 78    Filed 06/12/24 Entered 06/12/24 13:31:08                                     Desc Main
 Fill in this information to identify the case:
                                                                Document     Page 1 of 3
Debtor name     BOTW Holdings, LLC
United States Bankruptcy Court for the:                                        District of    Delaware
                                                                                               (State)
Case number (If known):
                                24-20138
                                                                                                                                               Check if this is an
Official Form 206D                                                                                                                             amended filing

Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor’s property?
       No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.

Part 1:                                                                                                                Column A                               Column B
             List Creditors Who Have Secured Claims
                                                                                                                                Amount of Claim         Value of collateral
2. List in alphabetical order all creditors who have secured claims.                                                                                    that supports this
                                                                                                                                    Do not deduct
If a creditor has more than one secured claim, list the creditor separately for each claim.                                              the value                   claim
2. 1     Creditor's name                                        Describe debtor's property that is subject to a lien
                                                                                                                                       $34,636.09                $36,259.00
         CHRYSLER CAPITAL
s136
         Creditor's Mailing Address

         PO BOX 660335
         DALLAS, TX 75266




         Creditor's email address, if known
                                                                Describe the lien
                                                                2022 RAM loan
         Date debt was incurred


         Last 4 digts of account number
                                                                Is the creditor an insider or related party?
         9263
                                                                     No
         Do multiple creditors have an interest in the               Yes
         same property?                                         Is anyone else liable on this claim?
             No                                                     No.
             Yes. Have you already specified the                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             relative priority?

                No. Specify each creditor, including this       As of the petition filing date, the claim is:
                creditor and its relative priority.
                                                                Check all that apply.
                                                                   Contingent
                Yes. The relative priority of creditors            Unliquidated
                is specified on lines
                                                                   Disputed




Official Form 206D                           Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 3
                    Case 24-20138
            BOTW Holdings, LLC
                                                  Doc 78          Filed 06/12/24 Entered 06/12/24 13:31:08 24-20138
                                                                                                              Desc Main
Debtor                                                              Document     Page 2 of 3
           Name                                                                                                                    Case Number (if known)

Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees of
claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

    Name and address                                                                                     On which line in Part 1 did you                Last 4 digts of account
                                                                                                         enter the related creditor?                    number for this entity




Official Form 206D                          Schedule D: Creditors Who Have Claims Secured by Property                                                       page 2 of 3
                 Case 24-20138      Doc 78       Filed 06/12/24 Entered 06/12/24 13:31:08 Desc Main
          BOTW Holdings, LLC                                                             24-20138
Debtor                                             Document     Page 3 of 3
          Name                                                                               Case Number (if known)

Part 3:     Total Amounts of the Claims Secured by Property

                                                                                                   Total of Claim Amounts


3a. Total of the dollar amounts from Part 1, Column A,
including the amounts from the Additional Page, if any.                              3a.                     $34,636.09
                                                                                            ____________________________




Official Form 206D              Schedule D: Creditors Who Have Claims Secured by Property                         page 3 of 3
